Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 1 of 8 PageID: 7




                        EXHIBIT “A”
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Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 2 of 8 PageID: 8
   PAS-L-001507-21 05/05/2021 12:24:05 PM Pg 2 of 7 Trans ID: LCV20211135330
Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 3 of 8 PageID: 9
    PAS-L-001507-21 05/05/2021 12:24:05 PM Pg 3 of 7 Trans ID: LCV20211135330
Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 4 of 8 PageID: 10
    PAS-L-001507-21 05/05/2021 12:24:05 PM Pg 4 of 7 Trans ID: LCV20211135330
Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 5 of 8 PageID: 11
    PAS-L-001507-21 05/05/2021 12:24:05 PM Pg 5 of 7 Trans ID: LCV20211135330
Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 6 of 8 PageID: 12
    PAS-L-001507-21 05/05/2021 12:24:05 PM Pg 6 of 7 Trans ID: LCV20211135330
Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 7 of 8 PageID: 13
    PAS-L-001507-21 05/05/2021 12:24:05 PM Pg 7 of 7 Trans ID: LCV20211135330
Case 2:21-cv-11621-BRM-MF Document 1-2 Filed 05/21/21 Page 8 of 8 PageID: 14
